Case 2:11-cv-00021-BSJ Document 115

Thomas M. Melton (4999)
meltont@sec.gov

Daniel J. Wadley (10358)
wadleyd@sec.gov

Attorneys for Plaintiff

Securities and Exchange Commission
15 West South Temple, Suite 1800
Salt Lake City, Utah 84101
Telephone: (801) 524-5796
Facsimile: (801) 524-5262

Filed 06/04/12 PagelD.1832 Page 1 of 16

FILED

U.S. GISTRICT COURT

2 JUN UD 201
DISTRICT OF UTAH

BY: on
DEPUTY CLERK

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF UTAH
CENTRAL DIVISION

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff,

Raymond P. Morris, E & R Holdings, LLC,
Wise Financial Holdings, LLC, Momentum
Leasing, LLC, James L. Haley, Cornerstone
Capital Fund, LLC, Vantage Point Capital,
LLC, Jay J. Linford, Freedom Group, LLC,
and Luc D. Nguyen,

Defendants.

__-(pzopesed) FINAL JUDGMENT
AGAINST RAYMOND P. MORRIS

CIVIL NO: 2:11-cv-00021

Judge Bruce S. Jenkins

Case 2:11-cv-00021-BSJ Document 115 Filed 06/04/12 PagelD.1833 Page 2 of 16

. Plaintiff Securities and Exchange Commission (the “Commission”) filed a Motion for
Summary Judgment against Raymond P. Morris “Morris” or “Defendant”). Morris did not
‘ oppose or otherwise respond to the Commission’s Motion for Summary Judgment. The Court
held a hearing on August 23, 2012. Having reviewed the Commission’s Motion, its
Memorandum and exhibits thereto, the Court finds as follows:
FINDINGS OF FACT
A. OVERVIEW
1. This matter involves an offering fraud that bilked investors out of no less than $60
million. From at least March 2007 through January 2009, Raymond P. Morris, through
his entities E & R Holdings, LLC (“E&R Holdings”, Wise Financial Holdings, LLC
(“Wise Financial”), and Momentum Leasing, LLC (“Momentum”) offered and sold
unregistered and non-exempt promissory notes to investors by making misrepresentations
and omissions designed to convince investors that they were purchasing high-yield notes
that were free of risk. .
2. Morris told investors he was raising capital for an exclusive investment fund
based on a “capital leasing concept.” Morris advised investors that their principal would
be deposited into a secure account that he had sole control over and that investment funds
would never leave this account.
3. Morris told investors that their principal would only be used for “verification of
- deposit purposes by certain private traders. Morris further told investors these private
traders would obtain large lines of credit and invest the proceeds in ways that would

generate a guaranteed interest rate of up to 20% per month.
Case 2:11-cv-00021-BSJ Document 115 Filed 06/04/12 PagelD.1834 Page 3 of 16

4, In reality, Morris used investor money for personal expenses, including a
luxurious home.and several sports cars, for making interest payments to create an illusion
of a successful investment; and for other investment-purposes where the funds could be

and were lost.

B. DEFENDANT
7. Raymond P. Morris, age 43, is a Utah resident, ‘Morris is the sole owner of E& R

Holdings, Wise Financial, and Momentum. Motris has never been registered with the

Commission in any capacity and has never been licensed to sell secutties .
a.  E& R Holdings, LLC is a Utah limited liability company, formed in 2007,
and owned and operated by Morrtis.- Mortis solicited investors for E & R
Holdings from about March 2007 until July 2007. E & R Holdings has not
registered any offering of its securities under the Securities Act of 1933
(“Securities Act”) or a class of secutities under the Securities Exchange Act of
1934 (Exchange Act”).
b. Wise Financial Holdings, LLC is a Utah limited liability company, formed
in June 2007, and owned and operated by Morris. Morris solicited investors for
Wise Financial from about August 2007 through September 2008. Wise Financial’
has not registered any offering of its securities under the Securities Act or a class
of securities under the Exchange Act.
C. Momentum Leasing, LLC is a Utah limited liability company, formed in
July 2007, and owned and operated by Mortis, Morris solicited investors for

‘Momentum from about July 2007 until at least J anuaty 2008. Momentum has not
Case 2:11-cv-00021-BSJ Document 115 Filed 06/04/12 _PagelD.1835 Page 4 of 16

registered any offering of its securities under the Securities Act or a class of
securities under the Exchange Act.

C. THE OFFERING

8. From at least March 2007 until J anuary 2009, Morris offered and sold securities

in the form of promissory notes to investors in unregistered, non-exempt transactions that

raised at least $60 million. .

9, Although Morris told investors their principal would be deposited in a secure

account and only would be used to verify deposits, Morris removed investor money and

used it to support his extravagant lifestyle, to make interest payments to some investors,

and invest in other joint venture opportunities. Morris was assisted by Nguyen and

Linford, who raised capital for Morris by making material misrepresentations to

investors.

10.. Morris began operating his scheme in about March 2007. Sometime prior to

March 2007, Morris approached James L. Haley (“Haley”), who was a member of a real

estate investment group to which Morris also belonged.

11. Morris advised Haley that he had come across an exclusive investment

opportunity that was based on a capital leasing concept. Morris told Haley the Fund was
_ started by the owner of the Houston Astros and had generated 20% returns per month for

about eight years.

12. Less than a week after introducing the Fund to Haley, Morris called Haley.

Morris indicated that if Haley could raise $500,000 in three to five days, they could

invest in the Fund. Without conducting any due diligence into Morris or the Fund, Haley
Case 2:11-cv-00021-BSJ Document 115 Filed 06/04/12 PagelD.1836 Page 5 of 16

began soliciting investments from friends and neighbors and raised $500,000, which he
gave to Morris.
13. From about August 2007 through June 2008, Haley, through his entities
Cornerstone Capital Fund, LLC (“Cornerstone Capital”) and Vantage Point Capital, LLC
(“Vantage Point’), raised at least $20 million for Morris’ Fund. In soliciting investments,
. Haley repeated Morris’ misrepresentations to investors.
14. Sometime in the summer of 2007, Morris hired Luc D. Nguyen (“Nguyen”), a
Utah attorney, to assist him with legal matters relating to soliciting investments. Nguyen
set up Morris’ investment entities, drafted offering documents, and filed Forms D with
the Commission for Morris controlled entities, E & R Holdings, Wise Financial and
Momentum.
15. Sometime during 2007, Morris met Jay J. Linford (“Linford”), who began to help
solicit investments for the Fund repeating Mortis’ misrepresentations and making
misrepresentations of his own, including that the Fund paid returns as high as 100% in
seven days with no risk to investor principal.
16. Many of the investors who lost money in the Fund were inexperienced,
unsophisticated, and had minimal net worth and annual income. Many investors lost
their entire savings to Morris’ Fund and some borrowed the money they invested and are
now indebted beyond their ability to repay their lenders. None of the Defendants gave

investors financial statements or material financial information about the Fund.

D. MORRIS’ MISREPRESENTATIONS TO INVESTORS
17, Morris convinced investors to purchase promissory notes from his entities, E & R

Holdings, Wise Financial, and Momentum, through oral and written misrepresentations
Case 2:11-cv-00021-BSJ Document 115 Filed 06/04/12 PagelD.1837 Page 6 of 16

and omissions. Morris orally assured investors their principal would be used only for
“verification of deposit” purposes and would not leave a secure account to which only
Morris had access.

18. Morris further advised investors that high returns of 20% per month or more
would be generated by allowing private traders to verify the deposited funds and obtain
lines of credit to invest in various ways.

19. Morris told investors he had joint venture partners that understood this “leased
capital” concept.

20. Morris orally assured investors that their investment was free of risk.

21. The oral representations Morris made to investors were false. In reality, Morris
did not work with private traders to obtain lines of credit that were invested. Rather,
Morris used investor funds to support his luxurious lifestyle and to repay earlier
investors.

22. Morris also knew his oral representations regarding the lack of risk his investors
faced were false. Investors faced real risk in investing with Mottis, since Morris was
using investor funds to pay his personal expenses repay earlier investors and to invest in
joint venture opportunities where investor funds could be and were lost.

23. In addition to these oral misrepresentations, Morris gave investors a Private
Placement Memorandum (“PPM”) for E & R Holdings, Wise Financial, or Momentum,
depending on which entity was providing the promissory note.

24. The PPM for E &R Holdings states that it was formed to “engage in the business
of investing, owning, holding, or trading in various traditional and alternative private debt

and equity investment vehicles; real estate; and direct and indirect investment in
Case 2:11-cv-00021-BSJ Document 115 Filed 06/04/12. PagelD.1838 Page 7 of 16

commodities; and to engage in the business of providing real estate financing and private
lending.”
25. The PPM for Wise Financial states that it was in the business of “lending funds
(‘Leased Funds’) to established international and domestic private trade institutions
(Private Traders’) who in turn leverage the Leased Funds solely for the purpose of
acquiring lines of credit”
26. The PPM for Momentum states that it was formed to “engage in the business of
leasing funds to establish international and domestic private trade institutions for
verification of deposit purposes.” It further states that when the leased funds are verified,
that “private traders are able to increase or obtain lines of credit with established
institutional lenders for various business uses,” including “trade credit, bridge Joans, hard-
money loans and high-rated bonds.” This PPM further explains that private traders may
also “conduct commodities and day trading activities” and that Momentum-conducts
business through joint ventures with partners that “have long-standing relationships with
established private traders.”
27. The representations in these PPMs were repeated in the promissory notes that
Morris gave to investors. These promissory notes state that they are “issued under and
subject in all respects to the terms of the Company’s Private Placement Memorandum.”
28. In these PPMs and promissory notes, Morris made material misrepresentations to
investors and omitted material information regarding how he would use investor money.
Rather than investing the funds in debt and equity vehicles, real estate, commodities, and

leasing it to private traders, Morris used investor money to support a lavish lifestyle,
Case 2:11-cv-00021-BSJ Document 115 Filed 06/04/12 PagelD.1839 Page 8 of 16

including a luxurious home and several sports cars, and to make illusory interest
payments to early investors in his scheme.

29. Morris never advised investors that their funds would be used to pay Morris’
personal expenses or to pay other investors purported returns.

E. THE SCHEME UNRAVELS -

30. In or around April 2008, Morris stopped making regular interest payments to
investors. Morris gave many explanations to investors, including that Homeland Security
had frozen the accounts, that the Madoff case had caused banks to hold funds, and that
typographical errors in wire request forms had caused delays.
31. Mortis told Haley, Nguyen, and Linford to pass these explanations on to
investors, and they did so even when they had concerns about Morris’ truthfulness.

32. As investors complained and threatened to go to the Commission and other
government agencies, Morris began disseminating phony bank statements falsely
showing that he had over $200 million deposited with Wachovia Bank. In late October
2008, Morris gave Nguyen a purported “Bank Confirmation Letter” from Wachovia.

33. This fraudulent letter states that Wachovia “currently holds funds in the amount
of... $201,782,567.89... [and] Mr. Raymond Paul Morris is the signatory on this
account.” The letter also says “the funds are good, clean and of non-criminal origin, are
unencumbered and freely disposable.”

34. ° In addition to this letter, Morris gave Nguyen a phony “Verification of
Depository,” also purporting to be from Wachovia Bank, showing that $201,827,067.89

was in Morris’ account.
Case 2:11-cv-00021-BSJ Document 115 Filed 06/04/12 PagelD.1840 Page 9 of 16

35. After Nguyen received. the fraudulent “Bank Confirmation Letter” and
“Verification of Depository,” he agreed to draft a letter to Morris’ investors, assuring
them their funds were safe. Nguyen’s October 30, 2008 letter states that “Mr. Mortis is
in possession of funds that will allow for the return of the principal amount of your
investment along with any back interest in the anticipated redemption of your Promissory
Note(s).”

36. This letter further confirmed that Nguyen was “in possession of a copy of an
official bank letter confirming that the funds are in a specified account under Mr. Morris
[sic] signatory control at such bank.”

37. These assurances by Morris that he had sufficient funds to repay investors were
false. The funds in the bank account were not funds Morris could use to-pay back
investors, and.in fact “weren’t his to touch.”

‘38. By the time the scheme unraveled, Morris, Haley, Linford, Nguyen, and their
respective entities, had defrauded investors out of $60 million or more by offering and
selling unregistered and non-exempt promissory notes based on material
misrepresentations and omissions,

39. E&R Holdings, Wise Financial and Momentum received a total of
$65,061,909.44 in investor funds. The prejudgment interest calculation on
$65,061,909.44, as calculated from April 1, 2007 through F ebruary 29, 2012, is

$17,731,048.05.
Case 2:11-cv-00021-BSJ Document 115 Filed 06/04/12 PagelD.1841 Page 10 of 16

CONCLUSIONS OF LAW
1. Defendant violated the antifraud provisions of Sections 5(a), 5(c) 17(a) of
the Securities Act of 1933 (“Securities Act”) and Section 10(b) of the Securities Exchange Act of

1934 (“Exchange Act”) and Rule 10b-5 thereunder.

2. Defendant made untrue statements and omitted material facts.

3. Defendant misrepresentations and omissions were material.

4, Defendant acted with scienter.

5. Defendant fraud occurred in connection with the purchase of sale of
securities,

6. Defendant used the means and instrumentalities of interstate commerce in

furtherance of their fraud.

7. The Commission is entitled to. disgorgement in the amount of
$65,061,909, representing profits gained as a result of the conduct alleged in the Complaint,
together with prejudgment interest thereon in the amount of $17,731,048.05, for a total of
$82,792,957.05.

8. ‘The Commission is entitled to a civil monetary penalty against Defendant.

I.

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant and

Defendant’s agents, servants, employees, attorneys, and all persons in active concert or

participation with them who receive actual notice of this Final Judgment by personal service or
otherwise are permanently restrained and enjoined from violating, directly or indirectly, Section
10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder

[17 C.F.R. § 240.10b-5], by using any means or instrumentality of interstate commerce, or of the

10
Case 2:11-cv-00021-BSJ Document 115 Filed 06/04/12 PagelD.1842 Page 11 of 16

mails, or of any facility of any national securities exchange, in connection with the purchase or

sale of any security:

(a)
(b)

(°)

to employ any device, scheme, or artifice to defraud;

to make any untrue statement of a material fact or to omit to state a material fact
necessary in order to make the statements made, in the light of the circumstances
under which they were made, not misleading; or

to engage in any act, practice, or course of business which operates or would
operate as a fraud or deceit upon any person.

I.

IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

and Defendant’s agents, servants, employees, attorneys, and all persons in active concert or -

participation with them who receive actual notice of this Final Judgment by personal service or

otherwise are permanently restrained and enjoined from violating Section 17(a) of the Securities

Act [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any means or

instruments of transportation or communication in interstate commerce or by use of the mails,

directly or indirectly:

(a) _-to employ any device, scheme, or artifice to defraud;

(b) to obtain money or property by means of any untrue statement of a material fact
or any omission of a material fact necessary in order to make the statements
made, in light of the circumstances under which they were made, not misleading;
or

(c) to engage in any transaction, practice, or course of business which operates or

- would operate as a fraud or deceit upon the purchaser.

11
Case 2:11-cv-00021-BSJ Document 115 Filed 06/04/12 PagelD.1843 Page 12 of 16

Ii.

IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant
and Defendant’s agents, servants, employees, attorneys, and all persons in active concert or
participation with them who receive actual notice of this Final Judgment by personal service or
otherwise are permanently restrained and enjoined from violating Sections 5(a) and 5(c) of the
Securities Act [15 U.S.C. § 77e] by, directly or indirectly, in the absence of any applicable
exemption:

(a) Unless a registration statement is in effect as to a security, making use of any
means or instruments of transportation or communication in interstate commerce
or of the mails to sell such security through the use or medium of any prospectus
or otherwise;

(b) Unless a registration statement is in effect as to a security, carrying or causing to
be carried through the mails or in interstate commerce, by any means or
instruments of transportation, any such security for the purpose of sale or for
delivery after sale; or

(c) Making use of any means or instruments of transportation or communication in
interstate commerce or of the mails to offer to sell or offer to buy through the use
or medium of any prospectus or otherwise any security, unless a registration
statement has been filed with the Commission as to such security, or while the
registration statement is the subj ect of a refusal order or stop order or (prior to the
effective date of the registration statement) any public proceeding or examination

under Section 8 of the Securities Act [15 U.S.C. § 77h].

12
Case 2:11-cv-00021-BSJ Document 115 Filed 06/04/12 PagelD.1844 Page 13 of 16

IV.

IT IS HEREBY FURTHER ORDERED, ADJUGED, AND DECREED that, Defendant
and Defendant's agents, servants, employees, attorneys, and all persons in active concert or
participation with them who receive actual notice of this Final Judgment by personal service or
otherwise are permanently restrained and enjoined from violating, directly or indirectly, Section
15(a) of the Exchange Act [15 U.S.C. § 780(a)] to use the mails or any means or instrumentality
of interstate commerce, directly or indirectly, to effect any transactions in, or to induce or
attempt to induce the purchase or sale of, any security unless defendant is registered in
accordance with Section 15(b) of the Exchange Act [15 U.S.C. § 780(b)].

V.

IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant
is liable for disgorgement of $65,061,909, representing profits gained as a result of the conduct . .
alleged in the Complaint, together with prejudgment interest thereon in the amount of
$17,731,048.05, for a total of $82,792,957.05. Defendant is jointly and severally liable for the
disgorgement and prejudgment interest with defendants E & R Holdings, LLC, Wise Financial
Holdings, LLC and Momentum Leasing, LLC. Defendant shall satisfy this obligation by paying
$82,792,957.05 to the Securities and Exchange Commission within 14 days after entry of this
Final Judgment.

Defendant may transmit payment electronically to the Commission, which will provide
detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank

13
Case 2:11-cv-00021-BSJ Document 115 ‘Filed 06/04/12 PagelD.1845 Page 14 of 16

cashier’s check, or United States postal money order payable to the Securities and Exchange
Commission, which shall be delivered or mailed to

Enterprise Services Center

Accounts Receivable Branch

6500 South MacArthur Boulevard

Oklahoma City, OK 73169
and shall be accompanied by a letter identifying the case title, civil action number, and name of
this Court; Raymond P, Morris as a defendant in this action; and specifying that payment is made
pursuant to this Final Judgment.

. Defendant shall simultaneously transmit photocopies of evidence of payment and case
identifying information to the Commission’s counsel in this action. By making this payment,
Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part
of the funds shall be returned to Defendant. .

The Commission shall hold the funds (collectively, the “Pund”) and may propose a.plan
to distribute the Fund subject to the Court’s approval. The Court shall retain jurisdiction over the

administration of any distribution of the Fund. If the Commission staff determines that the Fund

will not be distributed, the Commission shall send the funds paid pursuant to this Final Judgment

to the United States Treasury.

The Commission may enforce the Court’s judgment for disgorgement and prejudgment
interest by moving for civil contempt (and/or through other collection procedures authorized by
law) at any time after 14 days following entry of this Final Judgment. Defendant shall pay post
judgment interest on any delinquent amounts 'pursuant to 28 U.S.C. § 1961, )

VI.
IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant shall pay a

civil penalty in the amount of $150,000 to the Securities and Exchange Commission pursuant to

14
Case 2:11-cv-00021-BSJ Document 115 Filed 06/04/12 - PagelD.1846 Page 15 of 16

15 U.S.C. § T7(d) and 15 U.S.C. § 78u(d)(3). Defendant shall make this payment within 14 —

. days after entry of this Final Judgment.
Defendant may transmit payment electronically to the Commission, which will provide
detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank
cashier’s check, or United States postal money order payable to the Securities and Exchange —
Commission, which shall be delivered or mailed to.

Enterprise Services Center

Accounts Receivable Branch

6500 South MacArthur Boulevard

Oklahoma City, OK 73169
and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; Raymond P. Morris as a defendant in this action; and specifying that payment is made

pursuant to this Final Judgment.

15
Case 2:11-cv-00021-BSJ Document 115 Filed 06/04/12 PagelD.1847 Page 16 of 16

Defendant shall simultaneously transmit photocopies of evidence of payment and case
identifying information to the Commission’s counsel in this action. By making this payment,
Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part
of the funds shall be returned to Defendant. The Commission shall send the funds paid pursuant
to this Final Judgment to the United States Treasury. Defendant shall pay post-judgment interest

on any delinquent amounts pursuant to 28 USC § 1961.

Dated: HW { 1

16
